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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                    USDC SDNY
                                                                 DOCUMENT
 ALVIN L. BRAGG, JR., in his official capacity as                ELECTRONICALLY FILED
 District Attorney for New York County,                          DOC #:
                                                                 DATE FILED: 4/19/2023
                           Plaintiff,

                      -against-                                  1:23-cv-3032 (MKV)

 JIM JORDAN, in his official capacity as Chairman          ORDER GRANTING LEAVE
 of the Committee on the Judiciary, COMMITTEE              TO FILE AMICUS LETTER
 ON THE JUDICIARY OF THE UNITED STATES
 HOUSE OF REPRESENTATIVES, and MARK F.
 POMERANTZ,

                           Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       The request of former state and federal prosecutors to file an “amicus letter” [ECF No. 40]

is GRANTED. The Court has read and considered the letter.

       The Clerk of Court respectfully is requested to terminate docket entry 40.

SO ORDERED.
                                                    _________________________________
Date: April 19, 2023                                MARY KAY VYSKOCIL
      New York, NY                                  United States District Judge
